Case 2:05-cr-20043-.]P|\/| Document 17 Filed 06/01/05 Page 1 of 2 Page|D 25

l
IN THE UNITED STATES DISTRICT COURT Fu_§!_') tit §Ll“§-- D-L"»
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN Dmslow 05 ina -\ PH 3= 59
UNITED STATES OF AMERJCA ROBEW gsa YFCY
ClFP\l‘~'., l.l.o. E;)l`§:ga mg
W.i)". ¢:»F- m maine .
V' No. 05-CR-20043

Judge McCalla
GINA GAIL SMITH

 

ORDER RE-SCHEDULING HEARING DATE
Upon motion of counsel for the defendant and for good cause shown, it is hereby

()RDERED that the hearing in this matter, presently set for Thursday, June 2 at 9:30, is re-

scheduled to the (l;’+{" day of June, 2005, at )O.'LU @.» .m.

This f day of June, 2005.

owll<(l@@

Jon Phipps McCalla
nited States District Judge

 

 

Approved:

THOMASON, HENDRIX, HARVEY,
JOHNSON & MITCHELL, PLLC

ideasz

Kemlper B. Durand \
Court~Appointed Counsel for
Gina Gail Smith

This document entered on the docket shea En co lianc-'-J
with eula 55 ami/or eztb} Fech on ('@ ,, j“t’)

ISTRIC COURT -WESTER D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CR-20043 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Kernper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & l\/HTCHELL
40 S. Main St.

Ste. 2900

l\/lemphis7 TN 38103--552

Honorable J on McCalla
US DISTRICT COURT

